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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
DAVID MOYA, &
JUAN and YOLANDA BURGOS,
individuals, Case No.:

Plaintiffs,
v.

NATIONSTAR MORTGAGE LLC,
a foreign limited liability company,

Defendant.
/

VERIFIED COMPLAINT

COME NOW, Plaintiffs, DAVID MOYA (hereinafter, “Moya”), & JUAN and
YOLANDA BURGOS (hereinafter, “Burgos”) (hereinafter collectively, “Plaintiffs”), by and
through the undersigned counsel, and sue Defendant, NATIONSTAR MORTGAGE LLC
(hereinafter, “Defendant”) and allege:

INTRODUCTION AND PRELIMINARY STATEMENT

This is an action for damages brought by individual consumers for Defendant’s violations
of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes (hereinafter, the
“FCCPA”), the Telephone Communication Protection Act, 47 United States Code, Section 227
(hereinafter, the “TCPA”), and for declaratory judgment and injunctive relief in equity.

JURISDICTION AND VENUE

l. Jurisdiction of this Court arises under 47 United States Code, Section 227(b)(3),
28 United States Code, Section 1337, and supplemental jurisdiction exists for the FCCPA claims
pursuant to 28 United States Code, Section 1367. Declaratory relief is available pursuant to 28

United States Code, Sections 2201 and 2202.

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2. Venue in this District is proper because Defendant transacts business in this
District and the conduct complained of occurred in this District.

3. At all material times herein, the conduct of Defendant, complained of below,
occurred in Polk County, Florida.

4. At all times herein, Plaintiff David Moya is an individual residing in Polk County,
Florida.

5. At all times herein, Plaintiffs Juan and Yolanda Burgos are individuals residing in
Rockland County, New York.

6. Defendant is a foreign limited liability company incorporated under the laws of
the State of Delaware, that, itself and through its subsidiaries, regularly extends, to consumers,

home mortgage loans on real property located in Polk County, Florida.

 

GENERAL ALLEGATIONS
7. At all times herein, Defendant is a “creditor” as defined by Florida Statutes,
Section 559.55(3).
8. At all times herein, Defendant attempted to collect a debt, specifically a home

mortgage loan secured by real property located at 6597 Crescent Loop, Winter Haven, FL 33 884,
and referenced by account number ending in -1083 (hereinafter, “Debt”).

9. At all times herein, the Debt was a consumer debt, incurred primarily for
personal, household, or family use.

10. At all material times, Defendant was a “person” subject to Florida Statutes,
Section 559.72. See Florida Statutes, Section 559.55(3); Schauer v. General Motors Acceptance
Corp., 819 So. 2d 809 (Fla. 4th DCA 2002).

ll. At all times herein, Defendant’s conduct, with regard to the Debt complained of

below, qualifies as “communication” as defined by Florida Statutes, Section 559.55(5).

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12. At all times herein, Defendant acted itself or through its agents, employees,
officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,
representatives, third-party vendors, and insurers.

l3. All necessary conditions precedent to the filing of this action occurred or have
been waived by Defendant.

FACTUAL ALLEGATIONS

14. Defendant’s telephone calls, as more specifically alleged below, were made to
Plaintiff Moya’s cellular telephone number 786.333.7550 (hereinafter, “Moya’s cellular
telephone”) using an automatic telephone dialing system (hereinafter, “ATDS”), a predictive
telephone dialing system (hereinafter, “PTDS”), or an artificial or pre-recorded voice
(hereinafter, “APV”).

15. Plaintiff Moya is the owner, regular user, and possessor of a cellular telephone
with the assigned number 786.333.7550.

16. At no time herein did Defendant have Plaintiff Moya’s prior express consent to
call Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

l7. Further, if Defendant contends these telephone calls were made for
“telemarketing purposes” only, it still lacked the required prior express written consent necessary
to make such informational calls to Plaintiff Moya’s cellular telephone using an ATDS, a PTDS,
or an APV.

18. Plaintiffs Burgos entered into the Debt with Defendant, a note secured by real
property located 6597 Crescent Loop, Winter Haven, Florida 33884 (hereinafter, “Property”).

19. Plaintiff Moya is Plaintiffs Burgos’ nephew, and he currently resides at the
Property.

20. Plaintiff Moya was not an obligor on the Debt and did not provide Defendant his

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cellular telephone number in the transaction creating the Debt.

21. On or before May 4, 2013, Defendant filed a Mortgage Foreclosure Lawsuit
against Plaintiffs Burgos, in the Tenth Judicial Circuit Court in and for Polk County, FL, and
referenced by Case No. 2013-CA-000577 (hereinafter, “Mortgage Foreclosure Case”).

22. On or before May 4, 2013, Plaintiffs Burgos retained Mark P. Stopa, Esq. to
represent them with regard to the Mortgage Foreclosure Case and the Debt (hereinafter,
“Foreclosure Counsel”).

23. On or about May 4, 2013, Foreclosure Counsel filed a Notice of Appearance and
Email Designation in the Mortgage Foreclosure Case (hereinafter, “NOA”). Please see attached
a true and correct copy of said NOA and Email Designation labeled as Exhibit “A.”

24. The immediately-aforementioned NOA was filed in the Mortgage Foreclosure
Case, is addressed to Defendant’s Counsel, and was served on Defendant’s Counsel. Said NOA
advised Defendant of Foreclosure Counsel’s representation of Plaintiffs Burgos with regard to
the Debt and the action to foreclose the Property, and provided Foreclosure Counsel’s contact
inforrnation.

25. The immediately-aforementioned NOA provided Defendant with actual notice
and knowledge of Foreclosure Counsel’s representation of Plaintiffs Burgos with regard to the
Mortgage Foreclosure Case and the Debt.

26. All of the calls alleged below were made by Defendant despite Defendant’s
knowledge of Foreclosure Counsel’s representation of Plaintiffs Burgos with regard to the
Mortgage Foreclosure Case and the Debt.

27. The calls were also made despite never possessing Plaintiff Moya’s prior express
consent to call his cellular telephone using an ATDS, a PTDS, or an APV.

28. On or about September 6, 2013, at approximately 11:10 a.m. EST, Defendant

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called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

29. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt.

30. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by
telephone at 888.474.2423.”

31. On or about December 9, 2013, at approximately 3:20 p.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

32. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs Burgos.

33. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as'possible
by phone at 888.474.2423.”

34. On or about December 13, 2013, at approximately 10:24 a.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

35. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt.

36. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an

APV. The English translation of Defendant’s voicemail message is: “This message is for Juan

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and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as possible
by phone at 888.474.2423.”

37. On or about December 18, 2013, at approximately 4:29 p.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

38. The immediately-aforementioned call was placed from telephone number
972.894.1077 an was made in an attempt to collect the Debt.

39. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as
possible by phone at 888.474.2423.”

40. On or about December 20, 2013, at approximately 1:56 p.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

41. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

42. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as
possible by phone at 888.474.2423.”

43. On or about December 26, 2013, at approximately 11:34 a.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

44. The immediately-aforementioned call was placed from telephone number

972.894. 1077 and was made in an attempt to collect the Debt from Plaintiffs Burgos.

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45. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as
possible by phone at 888.474.2423.”

46. On or about December 30, 2013, at approximately 10:55 a.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

47. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

48. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as
possible by phone at 888.474.2423.”

49. On or about December 31, 2013, at approximately 12:04 p.m. EST, Defendant
called Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

50. The immediately-aforementioned call was placed from telephone number
972.894. 1077 and was made in an attempt to collect the Debt from Plaintiffs.

51. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as
possible by phone at 888.474.2423.”

52. On or about January 3, 2014, at approximately 12:49 p.m. EST, Defendant called

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Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

53. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

54. Further, on the above-referenced call Defendant’s employee or representative left
Plaintiff Moya a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an
APV. The English translation of Defendant’s voicemail message is: “This message is for Juan
and Yolanda Burgos from Nationstar. lt is very important that you contact us as soon as
possible by phone at 888.474.2423.”

55. On or about January 6, 2014, at approximately 2:51 p.m. EST, Defendant called
Plaintiff Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

56. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

57. Further, on the above-referenced ca11 Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”

58. On or about January 6, 2014, Plaintiff Moya sent Defendant a Nolice ofPendz`ng
Lawsuit (hereinafter, “NOPL”). Said NOPL expressly stated that Plaintiff Moya has never given
Defendant express consent to call his cellular telephone, that he has no prior or present
relationship with Defendant, and that his cellular telephone number has been registered with the
National Do Not Call Registry since August 20, 2011. To the extent Defendant ever did have
Plaintiff Moya’s prior express consent to autodial his cellular telephone -which Plaintiff Moya

expressly denies~ the NOPL further revoked such consent. Please see attached a true and correct

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copy of said NOPL labeled as Exhibit “B l -B2.”

59. On or after January 6, 2014, Defendant sent Plaintiff Moya a letter acknowledging
receipt of Plaintiff Moya’s NOPL. Please see attached a true and correct copy of Defendant’s
letter labeled as Exhibit “C.”

60. On or about January 16, 2014, at approximately 12:25 p.m. EST, despite having
received and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

61. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

62. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”

63. On or about January 19, 2014, at approximately 10:17 a.m. EST, despite having
received and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

64. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

65. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at

888.474.2423.”

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66. On or about January 24, 2014, at approximately 10:45 a.m. EST, despite having
received and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

67. The immediately-aforementioned call was placed from telephone number
972.894. 1077 and was made in an attempt to collect the Debt from Plaintiffs.

68. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”

69. On or about January 31, 2014, at approximately 10:03 a.m. EST, despite having
received and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

70. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

71. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”

72. On or about February 3, 2014, despite having knowledge of Foreclosure
Counsel’s representation of Plaintiffs Burgos with regard to the Debt, Defendant sent Plaintiffs
Burgos a letter in attempt to collect the Debt. Please see attached a true and correct copy of said

letter labeled as Exhibit “Dl-D5.”

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73. ln the immediately-aforementioned letter, Defendant states:

Your mortgage is seriously delinquent and has been referred to
foreclosure. We’ve tried to contact you to discuss foreclosure
prevention opportunities that may be available. To avoid
foreclosure, you must contact us.

...Based on an estimate of your home’s value, you’re approved to
entire into a Trial Period Plan for mortgage modification. During
the Trial Period, you will be required to make three monthly
payments in the amount of $1,1 98.71.

...To successfully complete the trial period plan, you must make
the trial period plan payments below.

0 First Payment: $1,198.71 by 3/1/2014

0 Second Payment: $1,198.71 by 4/1/2014

0 Third Payment: $1,198.71 by 5/1/2014

See Exhibits “Dl and D3.”
74. On or about February 10, 2014, Defendant sent Plaintiff Moya another letter
acknowledging receipt of Plaintiff Moya’s NOPL. Please see attached a true and correct copy of
said acknowledgement letter labeled as Exhibit “E.”
75. ln the immediately-aforementioned letter, Defendant states: “We were unable to
locate a loan with your name or address your provided. Accordingly, Nationstar is unable to
respond to your request without further explanation.” See Exhibit “E.”
76. ln the above-referenced letter, Defendant implicitly acknowledges that they do
not possess prior express consent to contact Plaintiff l\/loya because they do not have an account
with Plaintiff Moya’s name, address, or cellular telephone number in their system.
77. On or about February ll, 2014, at approximately 12:30 p.m. EST, despite having
received and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.
78. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

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79. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”
80. On or about February 20, 2014, at approximately 4:38 p.m. EST, despite
receiving and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.
81. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt.
82. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”
83. On or about February 24, 2014, at approximately 11:28 a.m. EST, despite
receiving and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.
84. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt.
85. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda

Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at

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888.474.2423.”

86. On or about February 27, 2014, at approximately 12:29 p.m. EST, despite
receiving and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff
Moya’s cellular telephone using an ATDS, a PTDS, or an APV.

87. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

88. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos from Nationstar. lt is very important that you contact us as soon as possible by phone at
888.474.2423.”

89. On or about March 14, 2014, at approximately 2:41 p.m. EST, despite receiving
and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff Moya’s cellular
telephone using an ATDS, a PTDS, or an APV.

90. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

91. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos. This is Hector from Nationstar, it is very important that you contact us as soon as
possible. My number here is 972.894.1077. We have very good news to go over with you so
please contact us immediately. Thanks.”

92. On or about March 22, 2014, at approximately 10:38 a.m. EST, despite receiving

and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff Moya’s cellular

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telephone using an ATDS, a PTDS, or an APV.

93. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

94. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos. This is Hector from Nationstar, it is very important that you contact us as soon as
possible. My number here is 972.894.1077. We have very good news to go over with you so
please contact us immediately Thanks.”

95. On or about March 28, 2014, at approximately 10:23 a.m. EST, despite receiving
and acknowledging receipt of Plaintiff Moya’s NOPL, Defendant called Plaintiff Moya’s cellular
telephone using an ATDS, a PTDS, or an APV.

96. The immediately-aforementioned call was placed from telephone number
972.894.1077 and was made in an attempt to collect the Debt from Plaintiffs.

97. Further, on the above-referenced call Defendant’s employee or representative left
a voicemail message in Spanish on Plaintiff Moya’s cellular telephone using an APV. The
English translation of Defendant’s voicemail message is: “This message is for Juan and Yolanda
Burgos. This is Hector from Nationstar, it is very important that you contact us as soon as
possible. My number here is 972.894.1077. We have very good news to go over with you so
please contact us immediately Thanks.”

98. Plaintiffs have retained Undersigned Counsel for the purpose of pursuing this
matter against Defendant, and Plaintiffs are obligated to pay their attorneys a reasonable fee for
their services.

99. Plaintiff Moya has not been able to, due to both professional and personal

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commitments, as well as the continued and increasing stress associate with the continued barrage
of Debt collection calls, to record the specifics (as done above) on each and every call made to
Plaintiff. Plaintiff asserts, however, that the above-referenced calls are but a sub-set of the calls
made in violation of the FCCPA and the TCPA. Further, Defendant is in the best position to
determine and ascertain the number and methodology of calls made to Plaintiff.

100. Additionally, Plaintiff Moya continues to receive collection calls from Defendant,
giving Plaintiff Moya the belief that, despite not being an obligor on the Debt and requesting in
writing the Debt collection calls cease, he would either have to pay the Debt or continue to
endure the collection calls. Therefore, Plaintiffs anticipate that there will be additional Debt
collection calls on top of the Debt collection calls mentioned in this Complaint.

101. As a direct result of Defendant’s actions, Plaintiffs have suffered severe stress,
anxiety, inconvenience, frustration, annoyance, fear, confusion and loss of sleep, believing that
the hiring of an attorney for representation with regard to the Debt was wholly ineffective, that
Plaintiff Moya’s NOPL was wholly ineffective, and that the frequent, repeated Debt collection
attempts would simply have to be endured.

102. Despite having repeatedly advised Defendant to cease placing automatically
dialed calls to Plaintiff Moya’s cellular telephone, having knowledge of the Mortgage
Foreclosure Case, and having knowledge of Foreclosure Counsel’s representation of Plaintiffs
with regard to the Debt, Defendant continues to attempt to collect the Debt directly from
Plaintiffs in violation of the FCCPA and the TCPA.

103. Defendant’s conduct, as described above, is a knowing, willful, and continuing
violation of Plaintiffs’ rights, as enumerated under federal and state law.

104. Given Defendant’s conduct, and its apparent intention and ability, to continue to

collect the Debt directly from Plaintiffs in violation of said debt collection laws, Plaintiffs have

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no adequate remedy at law.

105. Florida Statutes, Section 559.77 provides for the award of $1,000.00 statutory
damages for each harmed Plaintiff against Defendant per independent, temporarily displaced
violation, plus actual damages, punitive damages, injunctive relief, and an award of attomeys’
fees and costs to Plaintiffs, should Plaintiffs prevail in this matter against Defendant.

106. United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00
or actual damages, whichever is greater, for each telephone call made using any automatic
telephone dialing system, a predictive telephone dialing system, or an artificial or pre-recorded
voice to Plaintiff Moya’s cellular telephone in violation of the TCPA or the regulations
proscribed thereunder.

107. Additionally, the TCPA, Section 227(b)(3) allows the trial court to increase the
damages up to three times, or $1,500.00, for each telephone ca11 made using any automatic
telephone dialing system, a predictive telephone dialing system, or an artificial or prerecorded
voice to Plaintiff Moya’s cellular telephone in willful or knowing violation of the TCPA or the
regulations proscribed thereunder. The TCPA also provides for injunctive relief.

108. At all times herein, it would have been possible for Defendant to avoid violating
the terms of the TCPA.

109. Based upon the aforementioned allegations, Plaintiffs believe that Defendant’s
telephone calls made to Plaintiff Moya’s cellular telephone using an automatic dialing system, a
predictive telephone dialing system, or an artificial or pre-recorded voice were made in willful
and knowing violation of the TCPA.

110. As of the date of this complaint, Defendant has initiated a law suit in an effort to
collect the Debt (e.g., the Mortgage Foreclosure Case). However, no final judgment regarding

the Debt has been obtained by, or transferred to, Defendant.

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COUNT ONE:
UNLAWFUL DEBT COLLECTION PRACTICE -
VIOLATION OF FLORIDA STATUTES, SECTION 559.72(7)

Plaintiffs re-allege paragraphs one (1) through one hundred and ten (110) as if fully
restated herein and further state as follows:

111. Defendant is subject to, and has violated provisions of, Florida Statutes,
Section 559.72(7) by collecting consumer Debt from Plaintiffs through means which can
reasonably be expected to abuse or harass Plaintiff.

112. At no time herein did Defendant have Plaintiff Moya’s prior express consent to
call his cellular telephone ne using an ATDS, a PTDS, or an APV.

113. On or about May 4, 2013, Foreclosure Counsel served Defendant’s Counsel with
his NOA. Said NOA informed Defendant of Foreclosure Counsel’s representation of Plaintiffs
Burgos with regard to the Mortgage Foreclosure Case and the Debt, and provided Foreclosure
Counsel ’ s contact information

114. Despite having received actual notice and having actual knowledge of Foreclosure
Counsel’s representation of Plaintiffs Burgos with regard to the Mortgage Foreclosure Case and
the Debt, despite possessing Foreclosure Counsel’s contact information, and despite possessing
knowledge of the Mortgage Foreclosure Case, Defendant sent Plaintiffs Burgos a collection
letter in an attempt to collect the Debt.

115. More specifically, Defendant blatantly ignored Foreclosure Counsel’s NOA
which gave Defendant knowledge of Foreclosure Counsel’s representation of Plaintiffs Burgos
with regard to the Debt and provided Defendant with Foreclosure Counsel’s contact information

Defendant proceeded to attempt to collect the Debt by sending Plaintiff Burgos’ letters directly

and continuously calling Plaintiff Moya.

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116. Additionally, despite lacking Plaintiff Moya’s prior express consent to call him,
Defendant called Plaintiff Moya’s cellular telephone at least twenty-one (21) times in an attempt
to collect the Debt.

117. Defendant did not have any past, present, or future business relationship with
Plaintiff Moya that would permit such Debt collection calls.

118. Defendant, therefore, disclosed information regarding the Debt to a third party
with no legitimate business need for said confidential information More specifically,
Defendant’s repeated calls, disclosing Defendant’s name and number, and asking for a return
call, communicated to Plaintiff Moya that Plaintiffs Burgos were past due on their Debt
payments.

119. Furthermore, on or about January 6, 2014, Plaintiff Moya sent Defendant a NOPL
with regard to the constant collection calls.

120. Despite having received Plaintiff’ s NOPL, Defendant continued to call Plaintiff
Moya at least eleven (11) times in an attempt to collect the Debt.

121. Defendant repeatedly made such calls to Plaintiff Moya’s cellular telephone in an
attempt to abuse, embarrass, harass, and coerce both Plaintiffs Burgos and Plaintiff Moya into
paying the Debt.

122. Defendant’s collection calls made to Plaintiff Moya constitute an indirect attempt
to collect the Debt from Plaintiffs Burgos.

123. All of the above-mentioned actions were taken by Defendant knowingly in an
attempt to abuse, harass, and coerce Plaintiffs into paying the Debt.

124. Defendant’s willful and flagrant violation of, inter alia, the Florida Consumer
Collections Practices Act as a means to collect a Debt, constitutes unlawful conduct and

harassment as is contemplated under Florida Statutes, Section 559.72(7).

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125. As a direct and proximate result of Defendant’s actions, Plaintiffs have sustained
damages as defined by Florida Statutes, Section 559.77.
COUNT TWO:
UNLAWFUL DEBT COLLECTION PRACTICE -
VIOLATION OF FLORIDA STATUTES, SECTION 559.72(18)
Plaintiffs Burgos re-allege paragraphs one (1) through one hundred and ten (110) as if
fully restated herein and further state as follows:
126. Defendant is subject to, and has violated provisions of, Florida Statutes,
Section 559.72(18) by intentionally communicating with Plaintiffs Burgos after being given
actual notice that Plaintiffs Burgos were represented by counsel with regard to the underlying
Debt.
127. On or before May 4, 2013, Defendant filed a Mortgage Foreclosure Case against
Plaintiffs Burgos.
128. On or about May 4, 2013, Foreclosure Counsel sent Defendant’s Counsel a NOA
which provided Defendant with actual notice and knowledge of Foreclosure Counsel’s
representation of Plaintiffs Burgos with regard to the Mortgage Foreclosure Case and the Debt
and provided Defendant with Foreclosure Counsel’s contact information
129. Defendant, via its counsel, knew of Foreclosure Counsel’s representation of
Plaintiffs Burgos, and thus knew they should not be communicating with anyone other than
Foreclosure Counsel with regard to the Mortgage Foreclosure Case and l)ebt collection
130. Despite having the above-mentioned knowledge, Defendant placed at least
twenty-one (21) telephone calls to Plaintiff Moya in an attempt to collect the Debt from Plaintiffs
Burgos.
131. Defendant’s collection calls made to Plaintiff Moya constitute an indirect attempt

to collect the Debt from Plaintiffs Burgos.

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132. Further, Plaintiff Moya advised Plaintiffs Burgos of every call made to him by
Defendant.

133. Additionally, on or about February 3, 2013, Defendant sent Plaintiffs Burgos a
letter in an attempt to collect the Debt.

134. Despite having knowledge of Foreclosure Counsel’s representation of Plaintiffs
Burgos with regard to the Mortgage Foreclosure Case and the Debt, possessing Foreclosure
Counsel’s contact information, and possessing knowledge of the Mortgage Foreclosure Case,
Defendant called Plaintiff Moya at least twenty-one (21) times and sent Plaintiffs Burgos a
collection letter, all in an attempt to directly or indirectly collect the Debt from Plaintiffs Burgos.

135. As a direct and proximate result of Defendant’s actions, Plaintiffs Burgos have
sustained damages as defined by Florida Statutes, Section 559.77.

COUNT THREE:
TELEPHONE CONSUMER PROTECTION ACT-
VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

Plaintiff Moya re-alleges paragraphs one (1) through one hundred and ten (110) as if fully
restated herein and further states as follows:

136. Defendant is subject to, and has violated the provisions of, 47 United States Code,
Section 227 (b)(l)(A) by using an automatic telephone dialing system, a predictive telephone
dialing system, or an artificial or pre-recorded voice to call a telephone number assigned to a
cellular telephone service without Plaintiff Moya’s prior express consent.

137. Defendant used an ATDS, a PTDS, or an APV to call Plaintiff Moya’s cellular
telephone at least twenty-one (21) times in its attempt to collect the Debt.

138. At no time herein did Defendant have Plaintiff Moya’s prior express consent to
call his cellular telephone using an ATDS, a PTDS, or an APV.

139. Further, Plaintiff Moya sent Defendant a NOPL which expressly stated that

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Defendant did not have his prior express consent to ca11 him, and further advised that Plaintiff
Moya revoked any such consent, to the extent that it ever existed.

140. Despite having the above-referenced knowledge, Defendant called Plaintiff
Moya’s cellular telephone at least eleven (11) more times.

141. The telephone calls made by Defendant, complained of herein, are the result of
repeated, willful, and knowing violations of the TCPA.

142. As a direct and proximate result of Defendant’s conduct, Plaintiff Moya has
suffered:

a. The periodic loss of his cellular telephone service;

b. Lost material costs associated with the use of peak time cellular telephone
minutes allotted under his cellular telephone service contract.

c. The expenditure of costs and attorney’s fees associated with the
prosecution of this matter, along with other damages which have been lost;

d. Stress, anxiety, loss of sleep, and deterioration of relationships, both
personal and professional, as a result of the repeated willful and knowing calls placed in
violation of the TCPA; and

e. Statutory damages.

COUNT FOUR:
DECLARATORY AND INUNCTIVE RELIEF

Plaintiffs re-allege paragraphs one (1) through one hundred and ten (110) as if fully
restated herein and further state as follows:

143. Unless the Defendant is immediately enjoined from continuing their collection
efforts of the Debt, Plaintiffs will suffer irreparable injury.

144. Plaintiffs have no adequate remedy at law.

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145. Plaintiffs have a clear legal right to the protections of the FCCPA and TCPA.
146. Given Defendant’s conduct and its apparent intention and ability to continue to
collect the Debt directly from Plaintiffs in violation of said debt collection laws, Plaintiffs have
no adequate remedy at law. Plaintiffs need and are entitled to injunctive relief.
147. The requested injunction is reasonably necessary to protect the legal rights of
Plaintiffs and will have no adverse effect on the public welfare.

COUNT FIVE:
PATTERN AND PRACTICE

Plaintiffs re-allege paragraphs one (1) through one hundred and ten (110) as if fully
restated herein and further state as follows:
148. Upon information and belief, Defendant has engaged in a pattern and practice of
unlawful debt collection and invasion of privacy, repeatedly and willfully calling consumers’
cellular telephones in an attempt to collect debts, using an ATDS, a PTDS, or an APV without
having their prior express consent to do so.
149. Defendant undertakes this practice, despite being repeatedly being told by the
consumer that they have hired an attorney for representation regarding their respective debts,
despite never possessing consumers’ prior express consent, and/or despite consumers' repeatedly
revoking consent for Defendant to call consumers’ cellular telephones using an ATDS, a PTDS,
or an APV.
150. Defendant willfully, knowingly and repeatedly undertakes this practice to increase
revenue and profitability and the direct expense of consumers’ livelihood and privacy.
151. Defendant undertakes such practice not only repeatedly with regard to a single
individual consumer over time, but repeatedly and consistently undertake this practice entity-

wide, across many different individual consumers.

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152. Based on this pattern and practice, this Court should grant significant and
substantial punitive damages sufficient enough to prevent the Defendant from continuing this
pattern and practice and to deter its future conduct in the Middle District of Florida.

153. Plaintiffs allege that the imposition of a substantial punitive damage award is
required in order to force Defendant to comply with well-established federal and state privacy
and debt collection law.

PRAYER FOR RELIEF

WHEREFORE, as a direct and proximate result of the Defendant’s conduct, the
following is respectfully requested against Defendant:

a. Plaintiffs request judgment against Defendant declaring that the Defendant
violated the FCCPA and the TCPA;

b. Plaintiffs request judgment against Defendant for maximum statutory
damages under the FCCPA, per independent, temporally displaced violation committed
by Defendant;

c. Plaintiff Moya requests judgment against Defendant for statutory damages
in the amount of $500.00 for each of Defendant’s telephone calls that violated the TCPA;

d. Plaintiff Moya requests judgment against Defendant for treble damages in
the amount of $1,500.00 for each telephone call that violated the TCPA for which
Defendant acted knowingly and/or willfully;

e. Plaintiffs request judgment against Defendant for actual damages suffered
by Plaintiffs in an amount to be determined at trial;

f. Plaintiffs request judgment against Defendant for punitive damages

pursuant to the FCCPA, in an amount to be determined at trial ;

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g. Plaintiffs request judgment against Defendant enjoining Defendant from

further engaging in the conduct that violates the FCCPA and the TCPA;

h. Plaintiffs request an award of attorneys’ fees and costs; and
i. Any other such relief the Court may deem proper.
DEMAND FOR JURY TRIAL

 

Plaintiffs hereby demand a trial by jury on all issues triable by right.
SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE
Plaintiffs hereby give notice to Defendant and demand that Defendant and its affiliates
safeguard all relevant evidence -paper, electronic documents, or data- pertaining to this potential

litigation as required by law.

Respectfully Submitted,
LEAVENLAW

/s/ lan R. Leavengood

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Attorneys for Plaintiffs

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VERII~`|CATION OF COMPLAINT AND CERTIFICATION
STATE OF FLORlDA )
COUNTY ()F POLK l
Plaintiff DA\/'lD M()YA, having lirst been duly sworn and upon oath, deposes and says as

follows :

r. lam a Plaintiffin this civil proceeding

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l have read the above-entitled civil Complaint prepared by my attorneys and l believe that all of
the facts contained in it are true, to the best of nry knowledge, information and belief formed

after reasonable inquiry

'JJ

l believe that this civil Complaint is well grounded in fact and Wan‘arrted by existing law or by a

good faith argument for the extension nrodifreation, or reversal of existing law.

4. l believe that this civil (,`,onrplaint is not interposed for any improper purpose, such as to harass
any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in
the cost of litigation to any Defendant(s), named in the Complaint.

5. l have filed this civil Complaint in good faith and solely for the purposes set forth in it.

6. Each and every exhibit which has been attached to this Cornplaint, if any, is a true and correct

copy of the original

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Exccpt for clearly indicated rcdaetions made by my attorneys where appropriate, l have not

altered changed, nrodifred, or fabricated any exhibits except that sonre of the attached exhibits,
il`any. may contain some of my own h en notations
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DAW'D'MOYA

Subsciibed and sworn to before me
this b g day of ¢Zun_gd_` 2014. _
Notary Public

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VERIFICATION OF COMPLAINT AND CERTIFICATION

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PlaintiffJUAN BURGOS, having first been duly sworn and upon oath, deposes and says as

follows:

1. l am a Plaintiff in this civil proceeding

2. l have read the above-entitled civil Complaint prepared by my attorneys and l believe that all of
the facts contained in it are true, to the best of my knowledge, information and belief formed
after reasonable inquiry.

3. l believe that this civil Complaint is well grounded in fact and warranted by existing law or by a
good faith argument for the extension, modification or reversal of existing law.

4. l believe that this civil Complaint is not interposed for any improper purpose, such as to harass
any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in
the cost of litigation to any Defendant(s), named in the Complaint.

5. l have filed this civil Complaint in good faith and solely for the purposes set forth in it.

6. Each and every exhibit Which has been attached to this Complaint, if any, is a true and correct
copy of the original.

7. Except for clearly indicated redactions made by my attorneys Where appropriate, l have not
altered, changed, modified, or fabricated any exhibits, except that some of the attached exhibits,
if any, may contain some of my own handwritten notations v

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VERIFICATION OF COMPLAINT AND CERTIFICATION

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Plaintiff YOLANDA BURGOS, having first been duly sworn and upon oath, deposes and says as

follows:

1. lam a Plaintiff in this civil proceeding

2. l have read the above-entitled civil Complaint prepared by my attorneys and l believe that all of
the facts contained in it are true, to the best of my knowledge, information and belief formed
after reasonable inquiry.

3. l believe that this civil Complaint is well grounded in fact and warranted by existing law or by a
good faith argument for the extension, modification, or reversal of existing law.

4. l believe that this civil Complaint is not interposed for any improper purpose, such as to harass
any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in
the cost of litigation to any Defendant(s), named in the Complaint.

5. l have filed this civil Complaint in good faith and solely for the purposes set forth in it.

6. Each and every exhibit which has been attached to this Complaint, if any, is a true and correct
copy of the original

7. Except for clearly indicated redactions made by my attorneys where appropriate, l have not
altered, changed, modified, or fabricated any exhibits, except that some of the attached exhibits

if any, may contain some of my own handwritten notations

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!oLANDA BURGo's

Subscribcd and sworn to before me

this gl%day of ZZZW}{, 2014. MM/£:j/ ; <
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My Commission Expires: 5?/,7 f/_QU/ g Proof of I.D.: /lj/l/S D£, FFM cf 35 ‘7L

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